                      Case 5:23-cv-00580-FB Document 335 Filed 06/13/24 Page 1 of 7

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                       Western
                                                   __________   District
                                                              District of of Texas
                                                                          __________

               JULIA HUBBARD and KAYLA                                 )
                     GOEDINGHAUS                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 5:23-cv-00580-FB
                                                                       )
             TRAMMELL S. CROW, JR., et al.                             )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael Cain
                                           c/o M3 Films LLC
                                           5642 Dyer St.
                                           Dallas, TX 75206-5004




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew Schmidt
                                           Schmidt Law Corporation
                                           116A Main Street
                                           Tiburon, CA 94920




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT , PHILIP J. DEVLIN


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                      Case 5:23-cv-00580-FB Document 335 Filed 06/13/24 Page 2 of 7

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
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                      Case 5:23-cv-00580-FB Document 335 Filed 06/13/24 Page 3 of 7

AO 440 (Rev. 06/12) Summons in a Civil Action


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                      Case 5:23-cv-00580-FB Document 335 Filed 06/13/24 Page 4 of 7

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                                      UNITED STATES DISTRICT COURT
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                      Case 5:23-cv-00580-FB Document 335 Filed 06/13/24 Page 5 of 7

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                      Case 5:23-cv-00580-FB Document 335 Filed 06/13/24 Page 6 of 7

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                      Case 5:23-cv-00580-FB Document 335 Filed 06/13/24 Page 7 of 7

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